IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

AT MILWAUKEE

ANTONIO MARQUES SMITH,
Plaintiff,

Vv. Case NO.

SCOTT ECKSTEIN, STEVE SCHUELER,

JOHN KIND, JAY VAN LANEN, CAPTAIN

CUSHING, LIEUTENANT KOEHLER , LIEUTENANT

RETZLAFF, SERGEANT DUPONT, SERGEANT FRIDEL,
SERGEANT ROZMARYNOSKI, OFFICERS" BONIS, GOMM,
JOHNSON, DIEDRICK, MEYERS, GULLEY, BOWMAN,
RETZLAFF, MCDONOUGH, YANG, NURSE PRACTIONER

SUSAN PETERS, NURSE JEAN LUTSEY, NURSE KATHY
LEMENS, UNKNOWN JOHN AND JANE DOES, ADMINISTRATORS,
OF WI-DOC,ET. AL.,

DEFENDANT(s).

CIVIL RIGHTS COMPLAINT
42 U.S.C. s. 1983

NOW COMES, the plaintiff Antonio Marques Smith, by and through
himself, pro se , and with assistance of a certified Inmate Legal
Paralebal, and as, and for a complaint and against all herein

named defendants:

I. NATURE OF THE CASE
1. Plaintiff Antonio Marques Smith brings this claim under
Title 42 U.S.C. s. 1983, alleging he has been subjected to excessive
force, in violation of the Eighth and Fourteenth Amendments;
Retaliation in violation of his First Amendment Freedom; denial

of

Case 2:18-cv-01569-PP ~Hited 10/05/18 Page 1o0f45 Document 1
Equal Protection and Due Process under the Fourteenth Amendment,

subjected to Deliberate Indifference and Unwanton and Intentional
Infliction of Pain, under the Eighth Amendment, and Cruel and

Or Unusual Punishment, placing his life in danger while in their

custody and care. Plaintiff seeks those damages as available

to him under the previously mentioned statues of the United

States Constitution,

II. JURISDICTION AND VENUE

2. This court has jurisdiction over the claims alleged
herein under 28 U.S.C. ss 1331 and 1343.

3. Venue is appropriate in the Eastern District of Wisconsin
under the venue provision of 42 U.S.C. 1983, in that the actions
about which the plaintiff complains took place in the State
of Wisconsin, under 28 U.5.C., Section 1391 (b)(2) because it

is where the matter complained of occurred.

III. PARTIES

4, The Plaintiff Antonio M. Smith, is an adult resident
of the State of Wisconsin, and currently incarcerated at the
Green Bay Correctional Institution, (GBCI) located at 2833 River-
side Drive, P.O.Box 19033, Green Bay, Wisconsin 54307-9033.

5. Scott Eckstein, is the Warden of Green Bay Correctional
Institution, located at 2833 Riverside Drive, in the Village
of Allouez, County of Brown, Green Bay, Wisconsin 54307. He
is as warden, legally responsible for the care, safety, health,

of all inmates confined therein, as well for the operation of

Case 2:18-cv-01569-PP Filed.4Q/05/18 Page 2 of 45 Document 1

the institution (GBCI) and rules and policies of the institution.

6. Steve Schueler, is employed with the Wisconsin Depart-
ment of Corrections, as Deputy Warden at the Green Bay Correct-
ional Institution, and at all times relevant, responsible for
the care, custody, safety, and health of all inmates confined
therein, and in second command of the institution.

7. Jay Van Lanen is employed by the State of Wisconsin
Department of Corrections, as a supervisor II of the Green Bay
Correctional Institution, (GBCI), at all times relevant to the
actions described herein, as such, responsible for the care,
safety, custody and health of all inmates so confined at (GBCI),
and was the Unit Manager of the Restrictive Secure Housing Unit
(RSHU).

5. John Kind, is employed with the State of Wisconsin De-
partment of Corrections, as Security Director of Green Bay Corr-
ectional Institution (GBCI), and is third in command of the
institution, at all times relevant to this action, and such,
responsible for the care, custody, safety, health of all inmates
confined at GBCI, and also responsible for the training of staff
and correctional officers at Green Bay Correctional Institution
(GBCI).

9. Jean Lutsey, is employed byt he State of Wisconsin,
Department of Corrections/Bureau Health Service as a Registered
Nurse of the Green Bay Correctional Institution (GBCI) and as

such, Unit Manager of Health Service Unit (HSU), and is respons-

Case 2:18-cv-01569-PP Filed_40/05/18 Page 30f45 Document 1

ible for the daily management of the Nursing staff, and ensuring
that the inmate population at the institution are being met
healthwise to the mandates of the constitution.

10. Susan Peters, is employed with the Wisconsin Department
of Corrections/Bureau Health Service as a Nurse Practitioner/Pri-
mary Care Provider for the Green Bay Correctional Institution,
and is responsible for providing medical care to those inmates
confined at GSCI as primary care provider, at all times relevant

to this action, as described herein.

11. Kathy Lemens, is employed by the State of Wisconsin
Department of Corrections/Bureau Health Service (DOC/BHS) as
a Registered Nurse at the Green Bay Correctional Institution,
and is responsible for providing healthcare to inmates confined
at Green Bay Correctional Institution, at all times relevant
to the actions described herein.

12. Capt. Cushings is employed with the Wisconsin Department
of Corrections, as a supervisor II, and is responsible for the
care, custody, safety, and health, all inmates confined therein,
as well for the supervision of correctional officers and enfor-
cing the rules and regulations of the institution.

13, Capt. Stevens is employed by the State of Wisconsin,
Department of Corrections, as a supervisor II, and responsible
for the care, safety, custody, health of inmates confined therein
and enforcement of policies, and regulations of the institution

and is chief investigator of the institution, and was at all

Case 2:18-cv-01569-PP Filed +@/05/18 Page 4of45 Document 1

times relevant herein.

14. Defendant Koehler, is employed with the Wisconsin De-
partment of Corrections, as a supervisor I, at the Green Bay
Correctional Institution, and as such, responsible for the care,
custody, health and safety of the inmates confined therein,
and enforcing rules and regulations of the institution, at all
times relevant herein,

15. Defendants Gomm, Yang, Meyers, Deidrick, Johnson, Gulley
Bonis, Bowman are employed by the State of Wisconsin Department
of Corrections, as Correctional Officers, and responsible for
the care, custody, health and safety of all inmates confined
therein, at all times relevant herein, at the Green Bay Correct-
ional Institution (GBCI).

16. Tracy Rozmarynoski, is an employee of the State of
Wisconsin Department of Corrections, as a correctional sergeant
and as such, responsible for the care, custody, safety and health
of all inmates confined therein, at the Green Bay Correctional
Institution, (GBCI).

17. Jane and John Doe administrator are employed by the
State of Wisconsin, Department of Corrections as administrators
of the D.O.C, and responsible for the care, custody, health
and safety of all inmates confined with the department of corr-
ections, at all times relevant as described herein, and works
out the D.0.C headquarters in Madison.

IV. FACTS

Case 2:18-cv-01569-PP FiletPT0/05/18 Page 5o0f 45 Document 1

18. Plaintiff Antonio M. Smith, is and has been at all

times relevant incarcerated in the Wisconsin Department of Corr-
ections, having been returned to the DOC on revocation, and
returned to the Green Bay Correctional Institution (GBCI), appro-
ximately, late 2016, early 2017 having been transferred from
Waupun Correctional Institution (WCI) to GBCI.

19. On October 6, 2017, the Plaintiff, Antonio Smith, put
GBCI's Health Service Unit on notice that he would be going
on a hunger strike protest.

ZO. On October 10, 2017, Plaintiff was seen by RN Kathy
Lemens, for an evaluation per D.A.I. Policy #300.00.57. The
Plaintiff refused to be evaluated by Lemens, which included
laboratory blood work, vitals, weight, and its plaintiff's right
to refuse any and all medical treatments.

21. RN. Lemens began questioning the Plaintiff regarding
his reasoning behind the refusal to eat ("Hunger Strike"), to
wit, Plaintiff Smith informed her, he was peacefully protesting
the conditions of his confinement in the Restrictive Secure
Housing Unit, and how solitary confinement are being utilized
against certain inmates who are the targets of this administrat-
ion, the behavioral modification program and tactics that are
currently in use, and how the mentally ill inmates are going
untreated.

22. On October 11, 2017, Officers approached Plaintiff

Smith's assigned cell, #519 of the Restrictive Housing Unit,

Case 2:18-cv-01569-PP Filed 46/05/18 Page 6of45 Document 1

(i.e., Solitary Confinement"), and requested that Plaintiff

be handcuffed and be taken to the nurses station for an eval-
uation. Plaintiff refused, stating that he did not wish to be
evaluated or receive any form of treatment by Health Service
Nurses. The officers left Plaintiff's assigned cell, only to
return a short while later, stating: "We been directed to inform
you, that if you refuse to be seen by the nurse, security will
use physical force to gain compliance from you."

23. Under the threat of physical force, Plaintiff came
out to be seen by the nurse ("Kathy Lemens"), and did refuse
medical treatment and evaluation, and thus, returned to his
assigned solitary confinement cell.

24. From October 11, 2017 thru November 22, 2017, Plaintiff
Smith was taken to the nurses station daily, always under the
veil of a physical force threat, that would be used against
Plaintiff, should he refuse to be seen,

25. On November 24 and 25, 2017, respectively, Officers
came to Smith's assigned cell, cell #235 in the Restrictive
Secure Housing Unit (RSHU), commonly known as “Solitary Confine-
ment" directing that Plaintiff be handcuffed and taken to the
nurses station to be evaluated. Plaintiff Smith refused.

26. Sut. Fridel, came to the Plaintiff's assigned cell
after being informed by officers that the plaintiff refused
to be taken to the nurses station. Sgt. Fridel did ask Plaintiff

"why are you refusing?" the Plaintiff responded, the "Hunger

Case 2:18-cv-01569-PP Filed 40/05/18 Page 7 of 45 Document 1

Strike" policy and DAI (Division of Adult Institutions) policy
that governs medical treatment and evaluation do not state that
inmates must be seen by health service for any reason unless
there is an active court order for involuntary evaluation and
treatment.

27. This was not and is not a security issue, but an health
service issue, and to use physical force against my person,
just to get me before a nurse, would violate not only the policy
but my constitutional rights, and I shouldn't have to endure
being threatened daily with physical force to come out to see
the nurse, which has ingratiated on my emotional and mental
stability."

28. Sgt. Fridel stated: "let me speak with my supervisor,
and I'll be right back." Sgt. Fridel did return moments later,
and stated he and Lieutenant Koeller both reviewed the policy
and there "are no court order" actively in place for involuntary
evaluation, so, we are not using force to take you before the
nurse. Sgt. Fridel stated he in fact, informed the nurses that
they could very easily walk to Plaintiff's assigned cell and

get the same refusal to be evaluated from there."

29. On both days of November 23, and 24, 2017, nurses did
come to Plaintiff's assigned cell where he, yet, once again
refused to be medically evaluated.

30. On November 25, 2017 a nurse did appear to Plaintiff's

assigned cell asking if he wanted to be evaluated, to wit, Plain-

Case 2:18-cv-01569-PP Filed 0/05/18 Page 8 of 45 Document 1

tiff responded, "No."

31. At approximately 12:10 P.M., Capt. Cushing did appear
at Smith's assigned cell and stated "What I am about to say,
and do is bull shit, but let me explain what happened. The nurse
called her supervisor (Jean Lutsey) at home to complain that
security is not forcing Smith ("Plaintiff") to be seen. The
Nurse supervisor (Jean Lutsey), then called Cushings supervisor
at home John Kind, ("Security Director") who in kind, called
the institution and gave plaintiff an "Order" through someone
else, to use force if necessary on Plaintiff to get him in front
of the nurse.

32. Capt. Cushings states that he looked over all the poli-
cies with Lt. Koeller, and Sgt. Fridel, and it appears you do
have a right to refuse to be seen by HSU (Health Service Unit)
for any reason without having to come out of your cell, to do
so, and that I ("Capt. Cushing") read security director Kind
the policy, and yet, he still ordered me to get you out by force
if necessary.

33. Capt. Cushing's stated he had two options, violate
Plaintiff's rights and the DAI Policy & Procedure, then be sued,
as the money will come from the state, not him, plus he'll get
a few days off to testify in court. Or he could refuse his super-
visors orders and get fired. That he wasn't trying to lose his
job. Asking Plaintiff where would he file? Milwaukee, the Eastern

or Western District in Madison.

Case 2:18-cv-01569-PP Filec’#6/05/18 Page 9of45 Document 1

34. Capt. Cushing acknowledged that there were no court
order, but stated, "those damn nurses and my supervisors are
forcing my hands, and I hope that you understand." "But, I will
not take the fall, so, sue and I'll testify to the truth of
the matter."

35. Plaintiff Smith, responded: "You know that I am not
about to fight with y'all. I am going to lie face down on my
mattress with my hands behind my back, legs crossed at the ankles
in a total submissive position. This is unbelievable, and I
need it documented." Capt. Cushing stated, “don't worry Smith,
it will be well documented on camera and within our incident
reports."

36. Correctional Officers Gomm, Yang, McDonough, Bowman
and Capt. Cushiny all entered the cell to use physical force
on Smith, while Johnson video recorded the entire incident.
Plaintiff was placed in a 6-point restraint chair, and pushed
to the nurses station. Plaintiff Smith, remained silent while
in the nurses station and was subsequently returned to my assign-
ed cell.

37. On November 26, 2017 at approximately 9:00 a.m., Cushing
did appear at Plaintiff's assigned cell #235 in the Restrictive
Secure Housing Unit, (i.e., solitary confinement) with Officers
Deidrick, Yang, McDonough, Sxyt. Fridel, and Strean.

3%. Plaintiff Smith was forcefully removed from his assigned

cell while handcuffed behind his back, and leg restraints, and

Case 2:18-cv-01569-PP File@10/05/18 Page 10 of 45 Document 1

strapped in a 6-point restraint chair, and taken to the nurses
station.

39. Plaintiff refused to communicate with the nurses as
he did not want to be evaluated, which had already been esta-
blished. Plaintiff was then returned to his assigned cell. Sat.
Fridel video recorded the entire incident and everyone involved
wrote incident reports.

40. On November 27, 2017 at approximately 10:30 a.m., Capt.
Van Lanen, Officers Deidrick, Bonis, McDonough, Gulley, and
all unknown John Doe officers appeared at Plaintiff's assigned
cell, #a35.

41. All herein named defendants partook in applying physical
force upon Smith, as he was handcuffed, applying pressure down
on his wrist, placed in leg restraints, which were placed tightly
around his legs, and strapped him into a restraint chair, then
taken to the nurses station, where once again, plaintiff refused
to communicate with the nurses, to wit he was subsequently re-
turned to his assigned cell.

42, Approximately 15-minutes after plaintiff was returned
to his assigned cell, Capt. Van Lanen, came to his cell and
stated:"dude, I totaly understand your position, and rights.
They need to get that court order, but, HSU (Health Service
Unit) is making this a security issue when it really has nothing
to do with security. Right or wrong, "I gotta’ do what I gotta'

do it

Case 2:18-cv-01569-PP Filed 4705/18 Page 11o0f45 Document 1

43. On November 28, 2017, Captain Van Lanen and officers

Bonis, Gulley, Deidrick, Meyers, and an unknown John Doe officer

all approached the plaintiff assigned cell #235. The plaintiff

was reading a book while sitting on the cell mattress. When the
Plaintiff heard Captain Van Lanen at the cell door he immediately
set his book down and laid face down, placed his hands behind

his back and crossed his legs in a total submissive posture/position

the same as he done on November 25,26, and 27th, 2017.

44. Captain Van Lanen acknowledged that he had spoken with
the nurses and was made aware that the plaintiff was asthnatic,
and that incapacitating agents was a trigger for the plaintiff
asthma. Captain Van Lanen stated that if the plaintiff did not
voluntarily come to the cell door and place his hands out the
cell door trap to be cuffed and taken to the nurses station for
an evaluation that he would spray the plaintiff with GAS i.e

INCAPACITATING AGENTS.

45. The plaintiff stated to Captain Van Lanen that he
has a right to refuse to be seen by the nurse from his assigned
cell in the RSHU (Restrictive Secure Housing Umit) and that he
will remain in his submissive position on the cell matterss and

exercise his right to refuse.

46. Under the direction of Captain Van Lanen the plaintiff
cell door trap was opened by officers' and a burst of GAS i.e

INCAPACITATING AGENTS was released into the plaintiff ceél.

-12-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 12 of 45 Document 1

47. Never once did the plaintiff show any signs of aggression
towards staff, nor does the plaintiff have a violent history

of assultive behavior towards inmates, officers, or administrators.

48. After the INCAPACITATING AGENTS was released into the
plaintiff assigned cell, the plaintiff suffered an asthmatic
attact for approximately 2-§ minutes. The plaintiff felt as if

he would die as he could not inhale without feeling great pain.

49. Officers witnessed the plaintiff suffering great pain
and refused to come to the plaintiff assistance instead choosing
to yell at the plaintiff from outside the cell for the plaintiff
to remove all of his clothing, and perform a strip serach i.e
stand before the officer while in the cell in the nude, run fingers
through his hair, lift up his penis and testicals, turn around
facing away from the officer and raise his feet one at a time,
then bending over at the waist, spreading his buttocks and coughing.
The plaintiff was also forced to stick his fingers into his mouth
and run them along the inter parts of his jaw all while having

the CHEMICAL GAS on his fingers and coughing uncontrolably.

50. The plaintiff was then ordered to put his hands out
of the cell door trap where he was placed into handcuffs to wit
was placed so tightly that the pressure cut off the plaintiff

circulation of blood to his hands.

51. When the cell door was opened, the plaintiff was
ordered out while tather to the cell door. The plaintiff was

forced to the floor onto his knees while in the nude. Officers
then placed in leg restraints and forced back onto his feet.

Case 2:18-cv-01569-PP Filed 10/05/18 Page 13 of 45 Document 1
-13-

52. The plaintiff was then ordered by Captain Van Lanen
to stand up from the floor as the plaintiff was forced onto his
knees when exiting his assigned cell, and walk down the 20U wing
hallway to the nurses' station for an evaluation against his
will while in the nude. The plaintiff believe that it shall be
noted that he passed approximately twenty (20) cells with inmates
looking out their cell door windows at the plaintirf as he passed
by in the nude. The plaintiff believe that it shall also be noted
that Captain Van Lanen stated to the plaintiff "We like to walk
y'all out in the open while naked in hopes that being exposed
in such away will discourage behavior that we don't like. Being
naked infront of people is very embarrassing isn't it?" the plaintiff

did feel very embarrassed, dehumanized, and degraded/humiliated.

53. The plaintiff was unable to walk down the long hallway
unassisted as he was weak from a 52 day hunger strike, with infrequent
intake of fluids in protest of long-term solitary confinement,
and the abuse inmated experienced at the hands of officers, security
supervisors, and the Wisconsin D.0O.C as a whole. The plaintiff
legs and arms was numb from the tightness of the leg restraints
placed on his ankles and handcuffs on his wrist, did make it
very difficult for the plaintiff to walk. Captain Van Lanen ordered
Officer Deidrick and Meyers to use tactical force upon the plaintiff
because he was unable to walk in the manner to wit Captain Van
Lanen wanted. The tactical force included Officer Deidrick placing
the plaintiff into a choke hold from behind while both officer
(Deidrick and Meyers) twisted the plaintiffs’ hands until it

felt as if they would snap. The plaintiff did yell out in pain

behind the unnecessary and excessive force.

Case 2:18-cv-01569-PP Filed 10/05/18 Page 14 o0f 45 Document 1
-14-

54. The plaintiff was dragged walked to the nurses' station
where the plaintiff verbally stated to Nurse Practitioner Susan
Peters, that he (the plaintiff SMITH) refuse all medical treatment
which included any form of an evaluation, and did not want to

be touched as was my right.

55. The plaintiff head remained in a downward position while
informing Nurse Susan Peters, that he did not wish to receive
any medical treatment or to be evaluated. The plaintiff heard
Captain Van Lanen state to Nurse Susan Peters "Do you want me

to force his head up?" to wit nurse Susan Peters stated "Yes".

56. The plaintiff was then placed into a choke hold by officer
Gulley, forcing the plaintiff head to go backward to wit caused
the plaintiff great unnecessary pain. The plaintiff£ yelled out
"Don't touch me. I don't want to be evaluated nor receive any
medical treatment. This is my right, and there is no court order

for involuntary evaluation and treatment."

57. Nurse Susan Peters, did disregard the plaintiffs’ verbal
refusal to receive any and all forms of medical treatment to
wit included an evaluation and proceeded to roughly stick an
object into the plaintiffs' nasals which did cause the plaintiff

a great deal of pain.

58. The plaintiff was then dragged walked to cell #306
which is an observation cell designed for inmates who are deemed
suicidal. This observation cell light switch is on the outside
of the cell controlled by officers as the light remained turned
on bright. The cell does not have an emergency call botton/speaker

Case 2:18-cv-01569-PP Filed 10/05/18 Page 15 of 45 Document 1
-15-

59. The plaintiff was placed in this cell nude, with no

mattress, pillow, blanket, bedding, tissue, hygine products,

a security blanket or smoek, both of which are given to suicidal
inmates, and those inmates who are placed on control sergregation
status from being disruptive also recive a security blanket and
gmoek. The plantiff was placed on control status under Wisconsin
Administrative dode 303.74 controlled separation. (1) USE. "A
security supervisor may order into controlled separation any
inmate in sergregated status who exhibits disruptive, destructive,
or out of control behavior...When the inmate's behavior is no
longer disruptive, destructive, or out of control, a security
supervisor shall remove the inmate from controlled separation...
(2) CONDITIONS. (a) The institution shall provide inmates in
controlled status all of the following: (1) CLEAN MATTRESS. (2)
SUFFICIENT LIGHT BY WHICH TO READ AT LEAST 12 HOURS PER DAY.

(3) SANITARY TOILET AND SINK. (4) ADEQUATE VENTILATION AND HEATING.
(5) CLOTHING CONSISTENT WITH THE LEVEL OF RISK. (9) ESSENTIAL
HYGIENE SUPPLIES.(7) NUERITIONALLY ADEQUATE MEALS.

60. Lieutenant Retzlaff, did conduct a wellness security
round at approximately 3:30 P.M and stated the following"I tried
taking you off controlled status, but they wouldn't allow me"

when the plaintiff asked who is "They" Lt. Retzaff stated "Van Lnen".

61. The plaintiff asked Lt. Retzaff 'Why were I left
naked in control status when I have done nothing wrong to warrant
such placement, other than exercise my right to peacefully protest

the conditions of my confinement by engaging in a hunger strike,

and refusing medical treatment?"’ Lt. Retzaff responded “You're

not out of control, disruptive, or destructive, and never should've

Case 2:18-cv-01569-PP Filed 4018 Page 16 of 45 Document 1
-16-
been placed on controlled separation." The plaintiff than
asked if he could have some clothing, a mattress, hygiene supplies,
bedding, and some cleaning supplies because the cell was dirty
with blood stains from the last inmate housed in the cell had
attempted suicide by cutting himself." Lt. Retzaff responded
"Captain Van Lanen told me not to give you any clothing. He has
two bars and I have one (two bars represent a Captain and one
bar represent a Lieutenant) and this is his unit (i.e. Restrictive
Secure Housing Unit.)" The plaintiff stated "I'm cold. Its winter,
and y'all know that these sergregation cell vents blow out cold
air in the winter months and hot air in the summer months." Tt.Retzaff
responded " Let me go speak with Captain Van Lanen, and see what
I can do for you, because you really don't deserve all of this.
You're one of a very few inmates who don't yell, bang, disrespect
us, and do all of that suicidal stuff." It shall be noted that

Lt. Retzaff did not return, and the plaintiff remained nude.

62. From the moment the plaintiff was placed into the observation
cell #306 in the nude, countless number of inmates, male and
female officers/employees walked passed cell #306 viewing the
plaintiff completely nude. It shall be noted that the cell door
to cell #306 is made of clear hard plastic glass material which

allow anyone passing by easy viewing access into the entire cell.

63. The plaintiff was taunted by inmates unmercifully
with homophobic slurs, which was due to plantiff's nudity. Many
of these inmates made degrading, derogatory jokes and comments

in relation to the plaintiff's genitals and anus as officers

laughed on and encouraged the jokes to continue.

Case 2:18-cv-01569-PP {79 10/05/18 Page 17 of 45 Document 1
64. The plaintiff remained in the nude under the previously
described conditions for 24 hours. The plaintiff was unable to
sleep as he had no mattress, bedding, and clothing. Due to this
indcident occurring in the winter (November) the plaintiff was
extremely cold as there were cold air blowing from the vent inside
the cell. The plaintiff was also in much pain from two choke
holds applied to the plaintiff's neck, along with leg restraints
and handcuffs cutting off the plaintiff's blood circulation.

The cell light is controlled by the officers from outside of

the cell, and the bright light remained on.

65. The next day November 29, 2017 Captain Van Lanen approached
the plaintiff assigned cell #306 at approximately 8:00 A.M.,
with a very laege can of incapaciting agents'(chemical gas),
and stated to the plaintiff, “Smith, now if you refuse to see
the nurse this morning, I will spray you, and if I spray you
while you're naked, your ass and genitals will be on fire, and
you know that I'll use it on ya’ too. I've sprayed afew guys
thats on this wing with you while they were naked, ask them how
it felt. One way or another, I'm going to break you, and you'll
end this hunger strike, its been almost éwo months. My supervisors
are on my ass, and their supervisors are on their asses. The
hunger strike you all did at Waupun last year won't work here

at Green Bay."

66. Due to Captain Van Lanen's continuous pattern of
using violent tactics of physical force against the plaintiff

and other inmates who does not display any signs of violence,

the plaintiff did willingly exit the cell to be seen by the nurse
as the pain from the physical unnecessary use of force applied

Case 2:18-cv-01569-PP Fileg 10/05/18 Page 18 of 45 Document 1
the previous day, and under Capfain Van Lanen's veil threat

of addictional force. The plaintiff was provided with clothing
prior to exiting his assigned cell. Captain Van Lanen did follow
close behind the plaintiff stating “long, rough night huh? pretty
cold right?" mockingly.

67. On November 30, 2017 the plaintiff was being escorted
from his assigned cell #306 to the Restrictive Secure housing
Unit nurses’ station by Officer Bowman. Due to the plaintiff's
pain from the november 28, 201% unneeessary use of excessive
force, and his prolonged hunger strike and dehydration, the plaintiff's

legs could not support his weight, and he fell to the floor.

68. Within an hour of the plaintiff falling to the floor,
he was taken off grounds to St. Vincent Hospital, where he continued
to exercise his right to refusal of medical treatment, and to
be evaluated. The plaintiff was subsqquently returned to the

prison (Green Bay Correctional Institution).

69. Upon plaintiff's return to the prison, he was placed
in leg restraants, handcuffs in a rip-belt, and put into a wheelchair

where he was restrained to the wheelchair metal bars.

70. RN Kathy LEMENS stated: "We're going to take your
weight" plaintiff responded, "No, I don't want to be evaluated!
you don't have a court order for imvoluntary evaluation, and
you already know that I have a right to refuse." RN KATHY LEMENS
responded '' I got peemission from Madison, so, Van Lanen he's
all yours." The plaintiff yelled out '' Madison don't possess
the authority to violate my rights. I am of sound mind, and don't

want to have any forms of an evaluation which include my weight

being takenGase 2:18-cv-01569-PP Filed 10/05/18 Page 19 of 45 Document 1
-~19-
71. Steve Schueler-Deputy Warden, did inform Inmate Complaint
Examiner Mr. Begroot, after the plaintiff filed an Inmate Complaint,
that it was a ''Multi-disciplinary decision to take inmate SMITH

weight."

72. Captain Swiekatowski, informed the plaintiff that Deputy
Warden Steve Schueler's " Multi-disciplinary decision" statement
means that serval heads of department within Green Bay Correctional
Institution and possibly, the DEPARTMENT in Madison (W.D.0.C-
headquarters) got together, and discussed an issue thus, making
a "Multi-disciplinary decision". These referenced heads of the
departments’ here at Green Bay Correctional Institution include
but not limited to "Jean Lutsey-Health Service Unit Manager,

John Kind-Security Director, Scott Eckstien-Warden, Steve Schueler-
Deputy Warden, Captain Jay Van Lanen-Restrictive Secure Housing

Unit Manager, Br. Steve Schmit-Psychological Services Unit Supervisor,

Kathy Lemens-RN Head Nurse of the Restrictive Secure Housing

Unit, and whomever else from “Madison"-W.D.0.C headquarters. All

of the above possessed first hand knowledge that there was no

active court order for involuntary Evaluation i.e. taking the

plaintiff's weight against his wilYobjections.

73. Captain Van Lanen, leaned close to the plaintiff's
ear and stated “Don't make me used force on you Smitty(mockingly)
you know I'll do it. Strip you naked again, and this time it'll
last longer than a day." The plaintiff requested that a video
recorder be present to document his objection to being evaluated.

Sgt. Rozmarynoski, activated a hand held recorder, recording the

entire incident.

Case 2:18-cv-01569-PP Filed 10/05/18 Page 20 of 45 Document 1
-20-
74. Sgt. Rozmarynoski, documented the incident while the
plaintiff were pushed onto an industrialized scale, and he was
medically evaluated, and over his objection. Sgt. Rozmarynoski
stated to the plaintiff " They really fucked up with this one
smith. My memory is good, and i won't lie for them either."

The plaintiff asked " Why you didn't speak up and do whatever

you could to prevent my rights from being violated since you

knew that what they were doing was wrong?" Sgt. Rozmarynoski
responded '" Some times it take someone like you who will fight

this administration the right way in order to bring atout change,
versus me trying to stand up for you guys, and likely lose my

job." Sgt. Rozmarynoski done nothing to prevent the violation

and silently acquiesced in everything which transpired, essentially,

helping/assisting in the cover-up the violations.

75. On December 1, 2017, Wisconsin Department Of Corrections
filed a petition with Brown County Circuit Court requesting a
temporary order for involuntary Evaluation, Feeding and Hydration
pending am a hearing for a permanent order. The Honorable Marc
A. Hammer of Brown County Circuit Court, did grant the Wisconsin
D.O.C their petition for a temporary order. The temporary order
was served upon the plaintiff by Captain Swiekatowski, on December

1, 2017. A hearing was scheduled in the matter for January 23, 2018.

76. On December 2, 2017 plaintiff received an approved
adult conduct report for the November 28, 2017 incident where
incapaciting agents i.e Chemical Gas and the unnecessary excessive

force was used upon the plaintiff. Security Director John Kind
did approve for the force to be used on the plaintiff, than approved

this adult conduct report to proceed.
Case 2:18-cv-01569-PP Filed 10/05/18 Page 21 0f 45 Document 1
-21-
77. The plaintiff was being retaliated against by Captain

Van Lanen, Sercurity Director John Kind, when they both accused

the plaintiff of violating DOC 303.28 Disobeying Orders (knowing
ahead of time that the order was indeed unlawful) and DOC 303.33
Disruptive Conduct (knowing that the plaintiff was in his assigned
cell, and lawfully exercising hig rights to peacefully protest

the conditions of his confinement by engaging in a hunger strike
and refusing all medical treatment , which included being medically

evabhuated.)

78. Officer Bonis informed the plaintiff, that Captain Van
Lanen directed him to write the adult conduct report from the
November 28, 2017 incident, where Officer bonis was team leader
on the extraction team. It shall be noted that Captain Van Lanen
isl Officer Bonis direct supervisor. Officer Bonis informed the
plaintiff that his direct supervisor Captain Van Lanen, ordered
him to write in the adult conduct report that they were all at
the plaintiff's assigned cell #235 on November 28, 2017 when
incapaciting agents was used that the purpose was to search the
plaintiff's cell. Officer Bonis stated "Dude, everyone know that
we were there to take you to see the nurse, and not to search
your cell. They messed up by using that gas on you when you were
not doing anything wrong. In the use of force policy, incapaciting
agents can be used when an inmate refuses a cell search, and
thats why Van Lanen ordered me to write that lie into the ticket
(adult conduct report). You know how to fight them with your

intelligence so, do what you gotta’ do." The plaintiff responded
"If you knew that what you were writing was indeed a lie, than

why did you write it? You do realize that you violated your

Case 2:18-cv-01569-PP Filed 10/05/18 Page 22 of 45 Document 1
-22-
State of Wisconsin Work Rules for employees, and very possibly
the law when you intentionally, and knowingly provided false
information?" (Wis. Stats Ch.111 Wis. Stats Ch.230; WI adm.
code employment relations; WI Human Resources Handbook Chapter
410; DOC Executive Directives; WI DOC Human Resources Policies.
When an employee does any of the following, they are in direct
violation of: "#1. Falsification of records, Knowingly permitting,
Encouraging others to do so. Failing to provide truthful, accurate
and complete information when required. #2. Failure to comply
with written agency policies or procedures. #17. Making False,
inaccurate or malicious statements about another person or the
employer. #21. Failure to comply with the provisions of the state

code of ethics.)" Officer Bonis replied “The only thing that

I could say right now to you SMITH, is that I was directed by

my supervisor to write what was written. When I'm questioned

about what I wrote, thats exactly what I'm going to state, because
everyone who was here that day, we all know why we were at your
cell which was to escort you to see the nurse, and use force

to get you there, and not because of no damn cell search. A cell
search was never mentioned until I was directed to write the

ticket (Adult Conduct Report) by Van Lanen,"

79. On November 12, 2017, a Full Due Process Hearing was
conducted in regards to the November 28, 2017 incident where
incapacitating agents was used on the plaintiff, and an Adult

Conduct Report was written by Office Bonis.

-23-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 23 of 45 Document 1
The plaintiff requested Officer Bonis, DeiDrick, and Meyers
as witnesses to attend the hearing. Officer Bonis did not appear
in person but, did provide a written statement, however, the
plaintiff was not able to ask Officer Bonis any spécific questions

related to the incident.

80. Officers DeiDrick and Meyers, both admitted to the
following at the December 12, 2017 Full Due Process Hearing:
"We were at inmate SMITH's cell on November 28, 2017 especifically,
to escort him to the nurses station for an evaluation due to
his hunger strike, and there was never any mention of a cell
search by anyone prior to us showing up at inmate SMITH's cell.
If we were at inmate SMITH's cell for a cell search refusal,
when we droned up the supervisor would've stated that fact on
camera before we entered the wing leading to SMITH's cell." Both
officers stated "Whenever we're ordered to inmate SMITH's cell,
its in relations to his hunger strike, and we have never had
any issues with SMITH that would warrant any amount of force
to be used on him." Both officers admitted when asked if other
inmates housed in the Restictive Secure Housing Unit, are able/allowed
to refuse to be seen by the nurse without coming out of their
cells, and without being forced to come out of their cells, both
officers stated "Yes, when other inmates refuse to be seen by
the nurses, they (nurses) come to the inmate cell and ask them
to sign a refusal form." Officers DeiDrick and Meyers, both stated
"When we approached inmate SMITH's cell, he immediately layed
on his stomach, placed his hands behind his back, crossed his

leg at the ankles, and turned his face towards the closet wall

as he done so on the three previous cell extractions in a total

submissive and non-aggressive posation, and he did not exhibit

any singsC6£°¢ debt es oron? pri oF 26 DHE 22s "Beary! BprayPaCyMEs! the cell."
~24-
81. Video footage from the November 28, 2017 was also evidence

at the December 12, 2017 Full Due Process Hearing for the hearing
officers’ review, all of which proved that the force used against
the plaintiff was excessive inasmuch, that the Force was unnecessary
as further demonstrated and supported by two officers verbal
testimony at the Full Due Process Hearing, both of whom was present
at said incident. Lt. Larson stated to the plaintiff "I won't

make a decision today on the conduct report. I want to consult

with my supervisor (Captain Van Lanen and Security director John Kind).
You'll receive a copy of my decision in the mail. The plaintiff
was found GUILTY of all violations 303.28 Disobeying Orders and

303.33 Disruptive Conduct.

82. One day after the November 28, 2017 incident where
the incapacitating agents was used on the plaintiff, Officer
GOMM did inform the plaintiff that his property remained in cell #235
untouched. Thus, no one searched the plaintiff's cell. The plaintiff's
cell (#235) where he was removed from along with his property
was not touched by any officers until November 29, 2017 when
Officer Peterbaugh packed the plaintiff's property into boxes.
All of the above testimony from officers, video footage of the
incidents related to excessive and unnecessary force does in
fact support the plaintiff's claim that Captain Van Lanen, Security
Director John Kind, and Officer Bonis conspired against the plaintiff
when they lied about the purpose of the use of incapacitating agents

and force used on the plaintiff.

-25-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 25 of 45 Document 1

83. On December 7, 2017 the plaintiff was asleep in his assigned
cell #617 when he was awaken by Captain Van Lanen, who stated
“What is about to take place is not my decision. My supervisor
made the decision to strap you down (full body mechanical restraints).
The Nurse Practioner Susan Peters informed us that you need two
I.V bags for your dehydration, and it will take five (5) hours
for each bag. So the decision was made by my supervisor to have
you strapped down for the ten (10) hours in the restraint
bed." The plaintiff stated " I have never refused medical treatment
nor an evaluation when there is a court order for involuntary
medical treatment, which include evaluation, feeding and Hydration.
The December 1, 2017 court order took or suspended my rights
to refuse so, I comply. I've been forced fed and hydrated before
at Waupun as you already know and L've never resisted. This is
nothing more than another one of y'all never ending tactics used
to break my peaceful protest." Captain Van Lanen replied “SMITH,
I've never known us to take these steps but, as I stated, this
is not my decision. I just want to know if you will come out
or do we have to use force to get you into the restraint bed?
whether its right or wrong, I'm going to follow my supervisors

directives."

84. The plaintiff requested that the entire incident be
recorded, so that he had an opportunity to voice his objections.
A hand held recorder was present when the plaintiff placed his
hands out of the cell door trap to be handcuffed. The cell door
was opened and the plaintiff exited the cell and went to his

knees as directed so that Officers were able to place leg restraints

on his ankles.

Case 2:18-cv-01569-PP Filed 10/05/18 Page 26 of 45 Document 1
-26-
85. The plaintiff informed Captain Van Lanen on camera,
that to use Full Body Immobilizing Mechanical Restraints on me
as a means to enforce the involuntary treatment court order when
I am not refusing, will violate my rights guaranteed to me under
the Eight (8) and fourteenth (14) amendments of the United States
Constitution as the court order is a Commitment that does infringes
on my rights. You all need to consult with legal counsel before
strapping me down. Tell your legal counsel to review Youngberg v.
Romeo and Lilly v. Wis. DOC because you all is about to violate
me. And your supervisor does not possess the authority to strap
"

me down especially, when its for a medical or psychological need.

The plaintiff forewarning was recorded on video.

86. The plaintiff's forewarning, and pleas went ignored
as he was escorted to a cell where he was placed on a bed and

restraints was placed on both ankles, arms, and chest.

87. Psychologist Dr. Amy Zirbel, did conduct an interview
with the plaintiff as he was being placed into the full body
restraints. Dr. Zirbel stated"This is not coming from the psychological
department. We're not in agreement with this placement, and I've
never known of an inmate being strapped down for this purpose.

The use of Mechanical Restraints policy is pretty clear, so I
really don't know what to tell you Mr. Smith. You're not trying
to harm staff, another inmate, or yourself, so it just doesn't
make much sense to us at all. Is there anything you want to Say,
and I'll write it in my notes?" The plaintiff stated that what
was happening did violate his rights to be free of full bodily

immobilizing restraints, and the he felt dehumanized, humiliated,

and degraded.
Case 2:18-cv-01569-PP Filed 10/05/18 Page 27 of 45 Document 1

-27-
88. RN Kathy Lemens, did enter the cell as the plaintiff
was being placed into the full body immobilizing restraints and
did state "SMITH, I know that you are very upset right now, and
if i were in your position so would I. But, I just want you to
know that this decision to strap you down like this was not made
by HSU (Health Service Unit). Its out of our control." The plaintiff
believe that it shall be noted that the use of Mechanical immobilizing
restraints was not that of a Professional Judgement (Psychological

nor Medical professional).

89. On January 23, 2018 at 1:30 P.M before the Honorable
Judge Mark A Hammer, in Brown County Circuit Court/100 Jefferson Street/
Green Bay, WI/ Re: State Of Wisconsin Department Of Correctiong v.

Antonio M. Smith, Case No. 17-CV-1576 a hearing was held in regards +o

a request/petition from Wisconsin DOC for a permanent order for
Involuntary Evaluation, Feeding and Hydration. The plaintiff

objected to the Wis. DOC petition and requested that if the court

did grant the Wis. DOC their petition that it be written in the

order that Security cannot make the determination to use immobilizing
restraints as their action were to punish the plaintiff, and
discourage the plaintiff from continuing his hunger strike, and

such actions taken on December 7, 2018 when Security used Full

Body "6 point" immobilizing restraints did infact violate my

Eight (8) amendment right to be free from Cruel and Unusal Punishment,
and my fourteenth (14) amendment right under the Due process

Clause for a prisoner to be free from full bodily restraints.

~28-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 28 of 45 Document 1
90. Nurse Practioner Susan PETERS, who was/is the plaintiff's
Primary Care Provider and gave/subscribed the two I.V orders
did testify under oath at the evidentiary hearing before Judge
Mark A. Hammer, admitted that she did not make the determination
that the plaintiff needed to be placed in full body immobilizing
restraints or any forms of restraints in order to receive the
treatment of the I.V bags. NP PETERS, did admit that she learned
of the plaintiff being placed into the immobilizing full body
restraints the following week when she was evaluating the plaintiff,
and he asked if she had prior knowledge that her order for two
I.V bags would consist of the plaintiff being placed into full
body restraints and the witness NP PETERS stated ''No. she did
not have any knowledge of the restraints being used, and never
would've made such a determination unless you (the Plaintiff)
was refusing treatment." NP PETERS further testified that the
plaintiff records did not reflect that he had ever refused medical
treatment when there is an active court order for involuntary
evaluation, Feeding and Hydration. And that the plaintiff have
always allowed himself to be medically evaluated from the very
first day that the court granted the tempoary involuntary evaiuation
order dated december 1, 2017. NP PETERS admitted that she had
nothing to do with the taking of the plaintiff's weight on November
30, 2017 as she was aware that there was not yet an order from

the courts for involuntary evaluation.

-99-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 29 of 45 Document 1
91. Psychologist Dr. AMY ZIRBEL, did provide under oath
testimony at the January 23, 2018 evidentiary hearing before
The Honorable judge Mark A. Hammer. Dr. Zirbel stated " I never
known the restraint bed to be used for the purpose it was used
on Mr. SMITH (plaintiff). The decision to place Mr. SMITH (plaintiff)
in the restraint bed was not a decision from my department (i.e.
Psychological Services Unit). Mr. SMITH, was not resisting treatment,
and did not pose an immediated threat of physical harm to Staff,
another inmate, or himself. Mr. Smith have no history of self-

harm."

92. Captain Jay Van Lanen, did provide under oath testimony
at the Junary 23, 2018 evidentary hearing before The Honorable
Judge Mark A. Hammer, and admitted that he has known the plaintiff
for over ten (10) years, and the plaintiff have no history of
violence against Officers/Staff, and or Inmates. Captain Van
Lanen admitted the plaintiff had not refused to be evaluated
or medically treated since the involuntary evaluation, Treatment-

Feeding and hydration order was granted.

93. Captain William SWIEKATOWSKI, did testify under oath
at the Jaunary 23, 2018 evidentiary hearing before The Honorable
Judge Mark A. Hammer, and admitted that he has been employed
at the prison (Green Bay Correctional Institution) since 1996
and have never known of an incident where an inmate was strapped
down in order to ‘administer’ I1.V bags. Captain Swiekatowski admitted
to knowing the plaintiff since around 2001 (his first incarceration)
and the plaintiff does not have an assultive history against

Officers/Staff nor inmates, and the plaintiff did not refuse

medical treatment on December 7, 2017

Case 2:18-cv-01569-PP Filed 10/05/18 Page 30 of 45 Document 1
-30-
94. Deputy Warden-Steve SCHUELER, did provide under oath
testimony before The Honorable Judge Mark A. Hammer, at the January
23, 2018 evidentiary hearing , and admitted he was the person
who made the decision to use immobilizing restraints on the plaintiff
on December 7, 2017. Deputy Warden SCHUELER admitted that he
is considered apart of Security, and did not receive nor consulted
with a Professional in the Medical or Psychological field prior
to making said decision. Deputy Warden Mr. SCHUELER admitted
that he took the plaintiff's CASE and SENTENCED STRUCTURE under
consideration when he decided to use immobilizing restraints
on the plaintiff. Deputy Warden Mr. SCHUELER, did admit that
he was fully aware of the plaintiff's engaging in a strike and
being under an involuntary treatment order prior to his transfer
to green Bay Correctional Institution while he was housed at
Waupun Correctional Institution, and that he (Mr. SCHUELER) had
no information about the plaintiff ever refusing medical treatment
when there were an active court order for involuntary treatment.
Deputy Warden Mr. SCHUELER admitted to having a complete understanding
of adm. code 306.11 which govern the use of Mechanical Restraints,
and the adm. code 306.11 was provided to Mr. SCHUELER on the
witness stand as he read out loud the adm. code to wit state:

DOC 306.11 "Use of mechanical restraints to immobilizin inmates.
(1) Staff may use mechanical restraints to immobilize/confine
inmates only with the express authorization of the shift supervisor
and only in the following circumstances: (a) To protect staff,

and inmates froman inmate who poses an immediate risk of physical

injury to others unless restrained.

Case 2:18-cv-01569-PP_ Filed 10/05/18 Page 31 o0f 45 Document 1

(b) To protect an inmate who poses an immediate threat of
physical injury to self unless restrained. and (c) To protect
property." Deputy Warden Mr. SCHUELER admitted to having no information
that I posed an immediate threat of physical injury to Staff,
another inmate, or to myself, and that I was not destorying any
property at the time he made said decision and that he had no
information that the plaintiff have ever destoryed any property.
Deputy Warden SCHUELER, did admit that he had read my entire
file, and he had no knowledge that the plaintiff ever assulted
Staff or inmate. Deputy Warden Mr. SCHUELER, did admit and articulated
his knowledge of the differences between an adm. code, from an
institution policy, from the law. All of which demonstrate that
Deputy Warden Mr. SCHUELER completely understood his actions
prior to issuing the order to use Mechanical Restraints on the
plaintiff, and the plaintiff have NO DOUBT that Mr. SCHUELER's
decision to use Mechanical Restraints was indeed PUNITIVE serving
the effect to discourage and to break the plaintiff from his
non-violent and peaceful protest of #he conditions of his confinement

by engaging in a hunger strike.

95. The Honorable Judge Mark A. Hammer, did make a judgement
that the plaintiff's United States Constitutional Rights were
violated whenhe was subjected to the Mechanical Restraints for
purposes unjustifible under the courts order for involuntary
treatment. The court expressed disdain and concern behind the
Deputy Warden's testimony when he cited the plaintiff's case
and sentence as a factor when making a decision to use the Mechanical

Restraints. The court decided to put very especific language that

Case 2:18-cv-01569-PP sied 10/05/18 Page 32 of 45 Document 1
-32-
absent of a PROFESSIONAL JUDGEMENT, no one from SECURITY
is allowed to make a determination to use MECHANICAL RESTRAINTS
on the plaintiff (SMITH) under the color of the courts order
for involuntary EVALUATION, FEEDING AND HYDRATION order. The
court was clear in his determination that the plaintiff's rights
were indeed violated under the EIGHT and FOURTEENTH amendments
of the UNITED STATES CONSTITUTION.

96. The plaintiff have reviewed his medical fiée, and
have concluded that his susp&écion was correct, that NP PETERS
subscribing two I.V Bags was umnecessary, and was consistent
with tactics that are used by Wisconsin DOC to break inmates
from their peaceful protest of engaging in hunger strikes. The
plaintiff have been treated for Dehydration and Malnutrition
deriving from his hunger strikes, and have become knowledgable
in reading/interperting his laborat@ry results. The plaintiff
will be able to prove that NP PETERS prescribing the two I.V
Bags to last five (5) each was medically unnecessary, and deliberately
prescribed to serve another purpose other than to render necessary

medical attention/treatment.

97. The Plaintiff suffered from the result of being completely
immobilized in "6 Point" Restraints for ten (10) hours, which
the sufferance included mental as well physical pain. Plaintiff
continue to experience panic attacts, depression, Hyper-reactivity
and Hyper-Susceptibility to stimuli, Sleep problems with re-occurring
nightmares, uncontrolable mood-swings that range from onsets
of crying spells, and then anger all of which the plaintiff never
experienced prior to the use of immobilizing restraints on December

7, 2017.
Case 2:18-cv-01569-PP Filed 10/05/18 Page 33 of 45 Document 1
98. The plaintiff continue to experience harassement and
retailation from security which include Captain Jay Van Lanen,
Security Director John Kind, Deputy Warden Steve Schueler, Warden
Scott Eckstein and serval unknown John Does at the time of filing,
when in the month of Feburary 2018, Sergeant Dupont and Officer
Retzlaff, were directed by Captain Van Lanen to violate the plaintiff's

legal formated material located on discs/CD's/DVD's.

99. Sergeant DuPont and Officer Retzlaff both stated that
it was Captain Van lanen who gave them the directives to review
the plaintiff's legal material outside of his presence which
does violate adm. code 309.04(3) / policy governing inmates legal
material. Sergeant DuPont and Officer Retzlaff, confirmed that
they both opened over "66" compacts DVD's/CD's filled with the
plaintiff's very sensitive legal material, and knew that their

actions were in violation of policy/the inmate rights.

100. The plaintiff legal digitally formated legal material,
was confiscated by Captain Van Lanen and security Director Jhon
Kind. The plaintiff is actively appealing his conviction/in preparation
of appealing his conviction and does need the confiscated legal
material. As is Wis. DOC policy, inmates are allowed to maintain
possession of their digitally formated legal material at least
umtil the inmates’ first post-conviction appeal has been exhausted.
The plaintiff has a claim against Green Bay Correctional Institution
staff which include but, is not limited to Warden Eckstein, Deputy
Warden Schueler, Security Director John Kind, Captain Christopher
STEVENS, Captain Ryan Baumann, and John Does/Jane Does., et. al

Case No.1/7-CV-667 before the Honorable Judge Pamela PEPPER, UNITED
STATES DISTRICT COURT IN MILWAUKEE, WISCONSIN regarding the plaintiff's

Case 2:18-cv-01569-PP Filed 10/05/18 Page 34 of 45 Document 1
-34-
legally protected privileged mail between the plaintiff and
his trial defense attorney being opened, read, and copied outside
of the plaintiff's presence and without his knowledge, then subsequently,
e-mailed to the lead prosecutor in the plaintiff's criminal case
prior to the plaintiff's Febuary 2013 Jury Trial out of MILWAUKEE
COUNTY. And yet, these Green Bay Correctional Institution DEFENDANTS
continue to interject themselves into the plaintiff's ongoing
criminal matters, as evident by sergeant DePont and Officer Retzlaff
both, reviewing/analyzing indepth the plaintiff's digitally formatted
legal material without his knowledge and outside of his presence
in the month of febuary 2018, under the direct orders of their
Supervisor, and with the knowledge that their action violated
policy and the plaintiff's rights. To compound their actions
of illegally anayzing and reviewing the Plaintiff's legal material
on/in the month of febuary 2018, Green Bay Corr. Inst. staff
did make direct contact with ADA Karl P. HAYES again making inquiries
regarding the plaintiff's criminal case and legal material, to
which consisted of the plaintiff's post-Conviction Appeal, and

the chances of the plaintiff receiving a new jury trial.

101. The plaintiff does have himself an appellate attorney
however, the plaintiff does reserve the right to participate
in all aspects of his legal matters without fear of having his
ability to participate in his legal proceedings interferred with,
and the plaintiff does need his legal material in order to assist |
with preparing for his post-conviction appeal. The plaintiff's
ability to prepare his appeal has been imeped upon by the actions

of Green Bay Correctional Institution staff as outlined above.

Case 2:18-cv-01569-PR.- Filed 10/05/18 Page 35 of 45 Document 1

The plaintiff did make contact via correspondence with both,
Kathy A. Jess-SECRETARY Of WI-DOC and Scott Eckstein-Warden,
seeking intervention to which was supported in LAW and even the
DEPARTMENTS' own policy and procedures, however, the plaintiff's
and his appellate attorney serval attempts at resolving the issue
was disregarded as the plaintiff's digitally formatted legal
material was mailed out of the Institution against his objections
but, only after the legal material related to the plaintiff's
ongoing criminal case was violated during an indepth review/
analyzation by Sergeant DuPont, Officer Retzlaff, Captain Van

Lanen, and Security Director John Kind.

102. Plaintiff have contacted Warden Eckstein seeking intervention
on all related constitutional violations cited in this. 81983
civil rights complaint before most ever did occur. However, Warden
Eckstein have never carried out his duties to intervene and prevent
plaintiff's rights from being violated, and have acted as co-

conspirator.

EXHAUSTION OF WI-DOC REMEDIES

103. Plaintiff(SMITH} has properly exhausted all of his
WI-DOC remedies as required by law through filing grievances
related to every incident raised within his $1983 Civil Rights
Complaint using the inmate complaint in the ICRS (Inmate Complaintiff
Review System), and did appeal to the CCE (Corrections Complaint

Examiner), and received responses on all complaints from the

OOC (Office Of Secretary).

Case 2:18-cv-01569-PP eed 10/05/18 Page 36 of 45 Document 1
RELIEF WANTED

104. All herein named defendants are being sued in their
Individual, Official, and personal capacity. The Plaintiff seeks

compensatory/puntive damages against all defendants.

103. Plaintiff seeks an award of damages in the amount of
$1,000,000 dollars, sum same and sure against Jay Van Lanen,
for his disregard of plaintiff's (SMITH) right guaranteed under
U.S Constitutional Fourth amendment when plaintiff had his digitally
formatted legal material seized, and searched. First amendment
right to peacefully protest the conditions of his confinement
without actions being taken to suppress plaintiff's views and
Opinions. Eight amendment right to be free from Excessive force,
Cruel and or unusual punishment, as well Deliberate Indifference
when defendant Jay Van Lanen, used excessive force on plaintiff
on November 27th and 28th, 2017 (removing plaintiff from his
assigned cell and placing him full body "6 point" restraint chair.
Using Incapaciting Agents on plaintiff. Stripping the plaintiff
of his clothing, forcing him to be nude infront of male and female
staff,as well as, inmates, then placing plaintiff in a cold,
unsanitary cell without a mattress, bedding, Hygene supplies,
and in the nude for 24 hours. Placing plaintiff in Full Body
Immobilizing restraints for 10 hours on december 7, 2017. Retaliating
against plaintiff when directing officer Bonis to fraudulently
fabricate a conduct report/records.) Fourteenth amendment under
Equal Protection Clause and Due Process when defendant Jay Van Lanen

subjected plaintiff to "6 point" immobilizing mechanical restraints
on dates November 27, 2017 and again on December 7, 2017.

Confining plaintiff to a wheelchair and taking his weight 11-30-2017.

Case 2:18-cv-01569-PP Flee 10/05/18 Page 37 of 45 Document 1

104. Blaintiff seeks an award of damages in the amount of
$1,000,000 dollars, sum same and sure against Steve Schueler,
for violating plaintiff's first amendment right to freedom of
expression by protesting the conditions of his confinement peacefully
without reproach or any forms of suppression. Eight amendment
right to be free from Cruel and or unusual punishment, and Deleberate
Indifference when the defendant Schueler ordered that plaintiff
be placed into full body immobilizing mechanical restraints on
December 7, 2017 subjecting plaintiff to physical and mental
pain. And creating/enforcing policies that does not effect all
inmates who are in same or similar situation. Placing plaintiff
into a wheelchair in mechanical restraints and taking his weight
against his will and without have a involuntary evaluation court
order on November 30, 2017. Failure to intervene when knowing
that the plaintiff's rights was being violated and conspiring
to violate the plaintiff's rights. Fourteenth amendment under
Equal Protection Clause and Due Process when plaintiff was subjected
to Mechanical restraints on November 30, 2017 and again on December

7, 2017.

105. Plaintiff seeks an award of damages in the amount of
$1,000,000 dollars, sum same and sure against defendant John
Kind for violating plaintiff's fourth amendment right to be free
from search and seizure of his digitally formatted legal materials.
First amendment right to freedom of expression to peacefully
protest against the conditions of his confinement, and use of
long-term solitary confinement without reproach and suppression

of his ability to do so. Eight amendment right to be free from

Cruel and or unusual punishment, excessive force, and deliberate

IndifferenG@S@ren? ne WoPendan deg dPlGd 1 Bo Patee?& Bhd ah CUT tea
~38-

defendants Captain Cushing and Captain Van Lanen both, to
use unnecessary and excessive force against plaintiff when he
was lawfully exercising his rights on dates November 25th, 26th,
27th, and 28th, 2017. For enforcing and or creating institution
policy that allowed inmates who are in the same or similar situation
to be treated differently as all other inmates who are housed
in the Restrictive Secure Housing Unit are allowed to refuse
from their cells to be seen by Nurses/Doctors without being subjected
to physical force and threats of physical force, but yet, plaintiff
was not allowed to be treated the same, and refuse from his cell.
Fourteenth amendment when defendant John Kind, did direct Captain
Cushing and Captain Van Lanen both, to place plaintiff into full
body immobilizing mechanical restraints on dates Novemeber
25th, 26th, and 27th, 2017 even after Captain Cushing read from
DOC policy to Security Director John Kind, on November 25, 2017
that inmates does possess the right not to be seen’ by HSU (Health
Services Unit) staff without being physically forced to do so
‘absent of a court order, as well that the situation was not a
Security issue but, it was a Health Service issue. The plaintiff
is a prisoner to a Wisconsin prison and does reserve the right
to be free of full body immobilizing restraints for purposes
of punishment in order to discourage behavior that is undesirable

but yet, does not place anyone in danger of injury.

106. Plaintiff seeks an award of damages in the amount
of $1,000,000 dollars, sum same and sure against Captain CUSHING,
for violating plaintiff's rights guaranteed under the first amendment

to freedom of expression and to peacefully protest without reproach

and or suppression, and to remain free of violent attacts.

Case 2:18-cv-01569-PP Filed 10/05/18 Page 39 of 45 Document 1
-39-
Eighth amendment right to be free from Cruel and or unusual
punishment, and Deliberate Indifference when under Captain Cushings
supervision and directives, the plaintiff was forciblly removed
from his assigned cell with excessive force, placed into a "6 Point"
restraint chair to be immobilized by mechanical restraints on dates
November 25th, and 26th, 2017 and taken to be seen by health
Services Staff against plaintiff's objections while being fully
aware that no court order for involuntary Evaluation was in place,
and knowing that his actions violated plaitiff's rights and the
DEPARTMENTS own policy. For enforcing an institution unwritten
policy that treated inmates who are in same or similarly situated
circumstances differently when other inmates who are housed in
the Restractive Secure housing Unit are allowed to refuse medical
treatment or to even be seen by Health Services Staff from their
assigned cells without being subjected to physical force/excessive
force as plaintiff was subjected to on November 25th and 26th,

2017 - Fourteenth amendment under the Equal Protection Clause
and Due Process was violated when plaintiff was subjected to
full bodily immobilizing mechanical ;estraint| as the plaintiff
has a right to be free from immobilizing mechanical restraints
as a Wisconsin State prisoner being used on his person as means
of punishment and discouragement, and did not serve a legitimate
penaligical interest. Captain CUSHING demonstrated that he was
fully aware of plaintiff's rights being violated, but continued

in his actions anyway.
107. The plaintiff seeks an award of damages in the amount
of $1,000,000 dollars, sum same and sure against Warden Scott Eckstein

for violating plaintiff's First amendment right to freedom of

Case 2:18-cv-01569-PP Filed 10/05/18 Page 40 of 45 Document 1
-40-
expression to peacefully protest the conditions of his confinement
and the mis-use and abuse of long-term solitary confinement,
as victims of long-term solitary confinement are being mentally,
emotionally, and physically abused at the hands of Wisconsin
DOC. Plaintiff reserved the right to be free from un-written
policies created and enforced contrary to both U.S Constitution
and Wisconsin Constitution as well laws, that does infringes
on the plaintiff's First amendment rights. Egghth amendment right
to be free from Cruel and or Unusual punishment, and Deliberated
Indifference against plaintiff when creating unwritten policies
that subjected plaintiff to be forciblly removed from his assigned
cell for purposes of being medically evaluated over plaintiff's
lawfully objections, and being complicity in the excessive and
unlawful force on plaintiff's person on November 25th, 26th,
27th, and 28th, 2017 and subjecting plaintiff to immobilizing
mechanical restraints on Newember 30, 2017 when the plaintiff
was confined to a wheelchair and his weight was taken against
his lawful objections to which did constitute an illegal medical
evalihation. The unlawful and un-written policies consist of inmates
who are engaged in a hunger strike to be forciblly removed from
their cells by security without a court order for involuntary
evaluation and taken to be seen by health Services Staff, knowing
that such force is excessive in nature when applied. For violating
plaintiff Fourteenth amendment rights guaranteed to plaintiff
under the Equal Protection Clause and Due Process when plaintiff
was subjected to different treatment from other inmates who were

in the same or similar situation while housed in the Restrictive

Secure Housing Unit. When plaintiff was subjected to full bodily

Case 2:18-cv-01569-PP Filed 10/05/18 Page 41 of 45 Document 1
-41-
immobilizing mechanical restraints on dates November 25th,
26th, 27th and 30th, 2017 and again on December 7, 2017. Prior
to the above dates and all relevant incidents described herein,
plaintiff did contact Warden Scott Eckstein, seeking intervention
as is his duties and responsibilities but yet, Warden Eckstein
failed miserably at his duties to intervene, and operate an Institution
free of a culgure that is intoxicated and polluted with corruption
and littered with constitutional violations that is deeply rooted
into the very fabric of GREEN BAY CORRECTIONAL INSTITUTION

ADMINISTRATION from the top to the lowest position.

108. Plaintiff seeks an award of damages in the amount
of $1,000,000 dollars, sum same and sure against DEFENDANT nurse
practioner SUSAN PETERS, as her actions dated November 28, 2017
and December 7, 2017 did violate SMITH's constitutional rights
guaranteed to him under the Eighth amendment to be free from
Cruel and or Unusual Punishment, as well Deliberate Indifference.
Fourteenth amendment under the Equal Protection Clause, and Due
Process: When Nurse Practioner PETERS administered medical treatment
and evaluation on November 28, 2017 against plaintiff's verbal
objections. NP PETERS, did push roughly a foreign object into
the plaintiff's nostrills, and requested/agreed for plaintiff
head to be forced upward from a downward position to which Captain
Van Lanen directed his officer to place plaintiff into a choke
hold which caused great pain and injury as plaintiff is currently

receiving treatment to his neck.

-42-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 42 of 45 Document 1
NP PETERS, did admit to conspiring with a Wisconsin-DOC
official currently JANE/JOHN DOES working out of Madison (WI-
DOC Headquarters) prior to prescribing the two I.V Bags to which
was medically unnecessary, and served as an unlawful tactic to
aide security in their illegal attempts to break plaintiff of
his lawful protest against the conditions of his confinement
via hunger strike. NP PETERS prescribing two I.V bags to take
five hours each, totalling ten hours; NP PETERS actions directly
led to Deputy Warden Steve SCHUELER's actions which were illegal/unlawful
on December 7, 2017, when plaintiff was immobilized by mechanical
restraints under a sinister ploy of administering medical treatment
to wit was medically unnecessary. Plaintiff laboratory test results
did not support the ploy/dehydration, this fact further support
plaintiff assertion of a conspiracy which led to malpractice
as plaintiff did suffered from injury both, physically and mentally/
emotionally. Defendant NP PETERS as a Wisconsin licensed medical
health professional does have a sworn duty and obligation to
all of her patients health, and it is medical malpractice when
NP PETERS knowingly and intentionally places her patient health

at risk whether it be physically and or psychologically.

109. Plaintiff seeks an award of damages in the amount
of $1,000,000 dollars, sum same and sure against Health Service
Unit Manager Ms. JEAN LUTSEY, as her actions did violate the
plaintiff's rights guaranteed to him under the EIGHTH amendment
to be free from Cruel and or Unusual Punishment, as well Deliberate
Indifference. Fourteenth amendment under the Equal Protection
clause, as well Due Process: when she took part in the Multi-

Disciplinary Decision to take plaintiff weight against his lawful

Case 2:18-cv-01569-PP Filed 10/05/18 Page 43 of 45 Document 1
-43-

objections understanding the plaintiff was not under a courts
order for involuntary Evaluation at the time his weight was taken
on November 30, 2017 as Nurse Jean Lutsey, is directly involved
with all Health Services magagement. This incident also included
immobilizing the plaintiff with the use of restraints, as plaintiff
did suffer mental and emotional anguish. Defendant PETERS, on
November 25, 2017 according to Captain CUSHING, did contact Security
Director John KIND at his home to consptre with KIND, which led
to KIND contacting Captain CUSHING to order him to use unnecessary
and excessive force on plaintiff which included placing plaintiff
into a "6"' point restraint wheelchair. Nurse Jean Lutsey, was
contacted via correspondences by plaintiff many times seeking
to end the unlawful and unwritten policy that consisted of using
illegal tactics and force upon plaintiff due to his lawful peaceful
protest via hunger strike, however, Health Services Unit Manager
failed to execute her duities to intervene, and not have this
"“BACK-ROOM" deal with the Warden (Eckstein) to forcibly remove
plaintiff from his assigned cell whenever hes on a hunger strike
to be taken by that force to see health Services Staff (Nurses/Doctors).
Jean Lutsey, did personally parteke in all actions and decisions

made by her staff as acurrately described herein.

110. plaintiff seeks an award in the amount of $1,000,000
dollars, sum same and sure against defendants’ JANE and JOHN
DOES DOC-administrators who all partook in the plaintiff's weight
being taken on November 30, 2017. Who all participated in the
conspiracy to prescribe two I.V Bags that was medically unnecessary.
And all other constitutional violations that will be discovered

if this great court allow plaintiff to proceed on his claim

Case 2:18-cv-01569-PP Filed 10/05/18 Page 44 of 45 Document 1
-44-

as plaintiff will expose all the identities of Jane/John

DOES under the exchange of discovery material and interrogatoties.

111. Plaintiff seeks an award in the amount of $250,000
dollars, sum same and sure against defendants' Lt. Retzlaff,
Lt. KOEHLER, Officers GOMM, YANG, JOHNSON, DIEDRICK, BONIS, MEYERS,
GULLEY, JOHN?JANE DOES, Captain STEVENS, and Sergeant ROZMARYNOSKI,
also OFFICER RETZLAFF AND SERBEANT DUPONT. As all named defendants
did violate plaintiff's 1st,4th,8th, and 14th amendment(s) to

the United States constitution.

112. WHEREFORE, PLAINTIFF ANTONIO MARQUES SMITH, makes

a DEMAND FOR JURY herein violations set forth in this complaint.

lot SoenLAl

ANTONIO MARQUES SMITH

I declare under penalty of perjury that the foregoing is true and correct.

Respectfully Submitted;

Mla 25, ld.

Mailing Address:

Antonio Marques Smith #275561
Green Bay Correctional Institution
Post Office Box 19033

Green Bay, WI 54307-9033

This OY day of OCTOBER, 2018

745-

Case 2:18-cv-01569-PP Filed 10/05/18 Page 45 of 45 Document 1
